Case 2:02-cv-02920-.]DB-dkv Document 150 Filed 04/22/05 Page 1 of 5 Page|D 172

 

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FoR THE wESTERN DISTRICT oF TENNESSEE FS _} `
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JERRY L. BILLINGSLEY,

Plaintiff,
vs. No. 02-2920 BV
SHELBY COUNTY, et al.,

Defendants.

 

ORDER DEN'YING PLAINTIFF’S MOTION IN OPPOSITION OF DEFENDANT'S
MOTION FOR A MENTAL EVALUATION OF THE PLAINTIFF

 

Before the court is the March ll, 2005 motion of the pro se
plaintiff, Jerry L. Billingsley, in opposition to the defendants’
motion for a mental examination. The motion was referred to the
United States Magistrate Judge for determination. For the
following reasons, Billingsley's motion is denied.

BACKGROUND

On February 25, 2005, the defendants, Shelby County, Officer
Jon Kirkland, and Officer J. Ford, filed a joint motion pursuant to
Rule 35 of the Federal Rules of Civil Procedure requesting an
independent mental examination of Jerry Billingsley. In support of
that motion, the defendants stated that Billingsley had placed his
mental status at issue in the case by alleging that he suffered
emotional injuries as a result of the perceived abuse by the

defendants. The defendants also offered deposition testimony from

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Case 2:02-cv-02920-.]DB-dkv Document 150 Filed 04/22/05 Page 2 of 5 Page|D 173

Billingsley's psychiatrist that indicated that he may have suffered
from a pre-existing mental illness prior to the alleged abuse.

Billingsley failed to raise any objections to the defendants'
motion, and on March 5, 2005, United States District Judge J.
Daniel Breen granted the defendants' motion thereby ordering
Billingsley to submit to a mental examination to be held by Dr.
William Wolters. On March 11, 2005, Billingsley filed this motion
in opposition to the defendants' motion.

In the present motion, Billingsley contends that he consulted
with counsel for the defendant prior to the filing of the joint
nmtion and that the parties had agreed to a mental examination
under certain conditions. Billingsley claims that the agreed upon
conditions were not present in the court's order and that the
selection of Dr. WillianlWolters as the psychiatrist to perform the
examination would be prejudicial to his case. The defendants deny
that the parties agreed to the terms or conditions of the
examination.

ANALYSIS

The defendants' original motion complied with Rule 35 of the
Federal Rules of Civil Procedure. Therefore, this court sees no
reason to disturb Judge Breen's previous order granting the
defendant’s motion for a mental evaluation. Rule 35(a) states:

Order of Examination. When the mental or physical

Case 2:02-cv-02920-.]DB-dkv Document 150 Filed 04/22/05 Page 3 of 5 Page|D 174

condition (including the blood group) of a party . . .,

is in controversy, the court in which the action is

pending may order the party to submit to a physical or

mental examination by a suitably licensed or certified
examiner . . . . The order may be made only on motion for

good cause shown and upon notice to the person to be

examined and to all parties and shall specify the time,

place, manner, conditions, and scope of the examination

and the person or persons by whom it is to be made.

Fed. R. Civ. P. 35(a). Thus, if a parties mental state is at
issue, the court has the authority to order a party to submit to a
mental evaluation.

In this case, there is no doubt that Billingsley has placed
his mental status at issue. One of Billingsley's main allegations
is that he suffered an emotional injury as a result of the alleged
abuse by the defendants. Billingsley's own psychiatrist has
testified that he may suffer from a pre-existing mental illness and
has even suggested that Billingsley be evaluated by an independent
psychiatrist. Furthermore, Billingsley has not presented any
evidence of how his case will be prejudiced if the examination is
performed by Dr. William Wolters.

Consequently, Billingsley's motion in opposition to the
defendants' request for a mental examination is denied. In
accordance with Judge Breen's previous order on this matter, the
plaintiff is ordered to submit to a mental examination by Dr.

William Wolter, Forensic Psychiatrist, at his office located at

3173 Kirby-Whitten, Suite 104, Memphis, Tennessee 38134, with the

Case 2:02-cv-02920-.]DB-dkv Document 150 Filed 04/22/05 Page 4 of 5 Page|D 175

scope of the examination being to determine a diagnosis of any
psychiatric illness fronlwhich Billingsley is suffering and whether
it may be related to offenses he contends were committed by the
defendants. Billingsley is also ordered to provide Dr. Wolters
with a full medical release authorizing the doctor to obtain copies
of his medical records from his previous treating psychologists,
psychiatrists, and other mental healthcare providers. Upon entry
of this order, the defendants are to notify Billingsley of the
specific time, manner, and conditions of the exam.

IT IS SO ORDERED this 21st day of April, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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Honorable .1. Breen
US DISTRICT COURT

